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06
                                UNITED STATES DISTRICT COURT
07                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
08

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )               Case No. CR08-426-RSL
                                          )
11         v.                             )
                                          )
12   MARK SCHELL MILLS,                   )               DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offenses charged:

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               Count 5:      Access Device Fraud, in violation of 18 U.S.C. §§ 1029 and 2
17
     Date of Detention Hearing:      February 27, 2009
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               The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth,
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     finds:
21
              FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
               (1)    Defendant has stipulated to detention due to detention out of district, but
23
     reserves the right to contest his continued detention if there is a change in circumstances.
24
               (2)    There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required.
26
               IT IS THEREFORE ORDERED:

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01          (1)     Defendant shall be detained pending trial and committed to the custody of the

02 Attorney General for confinement in a correctional facility separate, to the extent practicable,

03 from persons awaiting or serving sentences or being held in custody pending appeal;

04          (2)     Defendant shall be afforded reasonable opportunity for private consultation

05 with counsel;

06          (3)     On order of a court of the United States or on request of an attorney for the

07 government, the person in charge of the corrections facility in which defendant is confined

08 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

09 connection with a court proceeding; and

10          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

11 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

12 Services Officer.

13                  DATED this 27th day of February, 2009.

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15
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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